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LIONEL SAWYER
& COLLING
ATTORNEYS AT LAW
1700 BANK OF AMERICA PLAZA
300 SOUTH FOURTH ST.
LAS VEGAS,
NEVADA 82101
(702) 383-0888

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LIONEL SAWYER & COLLINS

Charles H. McCrea, Jr. (NSB #104) CLERK OF THE COURT
Meredith L. Markwell (NSB #9203)

1700 Bank of America Plaza

300 South Fourth Street

Las Vegas, Nevada 89101

Tel (702) 383-8888
Fax (702) 383-8845

Attorneys for Plaintiffs
DISTRICT COURT

CLARK COUNTY, NEVADA

CONSIPIO HOLDING, BV, a corporation Case No.: A-10-622802-B
organized under the laws of The Dept. No.: XI
Netherlands; ILAN BUNIMOVITZ, an
individual; TISBURY SERVICES INC., a
corporation organized under the laws of the
British Virgin Islands;

Plaintiffs, TEMPORARY RESTRAINING ORDER
vs.

PRIVATE MEDIA GROUP, INC., a Nevada
corporation; DOE INDIVIDUALS 1! through
10; and ROE BUSINESS ENTITIES 11
through 20, inclusive,

Defendants.

On August 11, 2010, the Court entered an Order directing Defendant PRIVATE MEDIA
GROUP, INC. (“PRVT”) to appear and Show Cause Why a Temporary Restraining Order
Should Not Be Issued in this matter. The hearing on the Order to Show Cause was held August
13, 2010. Plaintiffs CONSIPIO HOLDING BV, ILAN BUNIMOVITZ and TISBURY
SERVICES INC. (collectively “Plaintiffs”) appeared by and through their counsel Charles H.
McCrea, Jr. and Meredith L. Markwell of the law firm Lionel Sawyer & Collins and Defendant

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ATTORNEYS AT LAW
1700 BANK OF AMERICA PLAZA!
300 SOUTH FOURTH ST.
Las VeGaa,

NEVADA 89101
(702) 383-8850

PRVT appeared by and through its counsel Robert A. Dotson of the law firm Laxalt & Nomura,
Ltd. The Court finds that PRVT was duly served with the Summons, Verified Complaint, Ex
Parte Motion for Temporary Restraining Order and Motion for Preliminary Injunction and
Appointment of a Receiver (“Motion for Temporary Restraining Order”) and Order to Show
Cause on August 11, 2010 as directed in the Order to Show Cause,

The Court has reviewed the Verified Complaint, the Motion for Temporary Restraining
Order and attached Declarations and heard the arguments of counsel. Based thereon, Court
preliminarily finds: (A) Plaintiffs’ Motion for Temporary Restraining Order should be granted;
(B) Plaintiffs have established that there is a reasonable probability of success on the merits of
their claims, that Plaintiffs and the shareholders of PRVT will suffer immediate, irreparable harm
unless the Temporary Restraining Order is issued, and that the balance of hardships between the
parties concerning the Temporary Restraining Order favors Plaintiffs; and (C) pursuant to NRCP
65(c), Plaintiffs should be required to post security for the Temporary Restraining Order in the
amount of $25,000.00.

Accordingly, it is hereby

ORDERED, ADJUDGED AND DECREED that Plaintiffs’ Motion for Temporary
Restraining Order is hereby GRANTED.

IT IS FURTHER ORDERED, ADJUDGED AND DECREED that PRVT (including its
subsidiaries and affiliates) and PRVT’s officers, agents, servants, employees and attorneys and
other persons who are in active concert or participation with anyone described in NRCP
65(d)(2)(A) or (B) are immediately restrained from holding or conducting any Special Meeting
of its Board of Directors without prior order from this Court, which may be sought on shortened
time pursuant to EDCR 2.26 with prior notice to all parties and counsel of record.

IT 1S FURTHER ORDERED ADJUDGED AND DECREED that that PRVT (including

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} its subsidiaries and affiliates) and PRVT’s officers, agents, servants, employees and attorneys

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2 and other persons who are in active concert or participation with anyone described in NRCP
3 . ye ws

65(d)(2)(A) or (B) shall be restrained from (i) issuing any additional shares of stock (common or
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preferred), (ii) incurring any additional debt (outside of the ordinary course of business), (iii)
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6 disposing of any business assets (outside of the ordinary course of business), (iv) making any
7 loans to any officer or director of PRVT or any person or entity owned or controlled by any such
8 officer or director, (v) closing, liquidating, transferring or withdrawing funds from (other than in
9

the ordinary course of business) any bank or brokerage account, (vi) paying any bonus to any

10 officer or director of PRVT, and (vii) undertaking any other act or transaction that is not in the
i ordinary course of business, without the prior approval of a majority of the disinterested
members of the Board of Directors at a duly noticed regular meeting of the Board of Directors or
14 at a Special Meeting of the Board of Directors held in compliance with the requirements of this
15 Temporary Restraining Order as set forth above.

16 IT IS FURTHER ORDERED, ADJUDGED AND DECREED that Plaintiffs are required

7 to post security for the Temporary Restraining Order in the amount of $25,000.00.

18 IT IS FURTHER ORDERED, ADJUDGED AND DECREED that Plaintiffs’ Motion for
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Preliminary Injunction and Appointment of a Receiver shall be set for hearing before the above-
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31 captioned Court on Friday, September 3, 2010 at the hour of 9:00 A.M. The parties are to submit

» and exchange a list of proposed live witnesses and copies of any proposed exhibits and affidavits
34 or declarations not previously attached to any of the motion papers by noon on September 1,
24 2010, If there are any objections to any affidavit or declaration submitted by PRVT in response

25 to the Motion for Temporary Restraining Order, such objections shall be submitted by noon on

26 September 1, 2010. Any Trial Briefs shall be submitted to the Court no later than noon on
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September 2, 2010.
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& COLLINS
ATTORNEYS AT LAW
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1 IT IS FURTHER ORDERED, ADJUDGED AND DECREED that this Temporary
2 Restraining Order shall remain in effect until the conclusion of the evidentiary hearing scheduled
3 to commence on September 3, 2010, counsel for PRVT having stipulated at the hearing of this
4 matter that it could remain in effect beyond the time specified in NRCP 65(b).

DATED and DONE this [3 day of August 2010 at the hour of __.M.

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8g S

9 Respectfully submitted,

10 | LIONEL SAWYER & COLLINS

Meredith L. Markwell (NSB #9203)

Attorneys for Plaintiffs

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LIONEL SAWYER
& COLLINS
ATTORNEYS AT LAW

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